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              IN THE UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF NEW YORK

 PALO ALTO NETWORKS, INC.            Civil Action No. 1:22-cv-02306-ER

            Plaintiff,

       v.

 TAASERA LICENSING LLC, and
 QUEST PATENT RESEARCH
 CORPORATION,

            Defendants.




  PLAINTIFF PALO ALTO NETWORK’S MEMORANDUM OF LAW IN
    OPPOSITION TO DEFENDANT QUEST’S MOTION TO DISMISS
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I.        INTRODUCTION

          Despite Defendants’ attempts to engineer a low-risk patent monetization program using a

single purpose shell company purportedly located at counsel’s offices in the Eastern District of

Texas, all roads lead back to parent Quest Patent Research Corporation (“Quest”) here in New

York. Quest intertwines its personnel, business activities, and funding with its shell company

subsidiaries. Here specifically, Quest and Taasera Licensing LLC (“Taasera”)1 are alter egos of

each other and—in true essence—a single entity. There can be no doubt that here between Quest

and Taasera, this Court has proper subject matter jurisdiction. Quest is a patent monetization

business run and managed by a lawyer named Jon Scahill. Mr. Scahill is also Taasera’s sole

manager in the United States.          Quest has acknowledged that it formed Taasera as an

undercapitalized shell subsidiary in order to litigate patents that Quest acquired while side-stepping

any potential adverse award of attorneys’ fees. These facts and the others discussed herein easily

meet the standard for holding Taasera and Quest as alter egos. The “two” businesses are

intertwined and their attempt to shift focus on a “principal place of business located in Plano,

Texas” is a sham argument designed to manipulate jurisdiction.

          In its motion, Quest separately argues that Palo Alto Networks, Inc.’s (“PAN”) complaint

insufficiently alleges noninfringement, and in so doing, Quest conveniently ignores that PAN’s

complaint specifically identifies limitations that are not found in PAN’s products.           PAN’s

complaint also provides supporting factual allegations with respect to specific claim limitations.

The level of specificity provided by PAN is legally sufficient.




1
    Taasera is not challenging subject matter jurisdiction. See generally Dkt. 57.
                                                   1
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       Accordingly, PAN requests this Court: (i) deny Quest’s motion to dismiss PAN’s first

amended declaratory judgment complaint (the “FAC”) for lack of subject matter jurisdiction; and

(ii) deny Defendant Quest’s alternative motion to dismiss the FAC for failure to state a claim.

I.     BACKGROUND FACTS

       Quest argues that: “While Quest owns Taasera, Quest is not involved in the day-to-day

management or operations of Taasera.” Dkt. 51, at 2. However, public information clearly

suggests otherwise.    Discovery of Quest’s confidential business information could further

elucidate the circumstances, if permitted.2 Taasera’s Certificate of Formation explicitly states that

the only manager of Taasera is “Quest Patent Research Corporation.” Dkt. 21-11 (Taasera

Licensing LLC’s Certificate of Formation). Taasera and Quest are also listed at the address: 411

Theodore Fremd Ave., Suite 206S, Rye NY. Id.; see also Dkt. 21-14, at 3 (posts from Quest’s

website showing address); Dkt. 21-13, at 3 (Patent Reassignment form correspondence address)

       The transaction trails for the patents Taasera asserts in its monetization program all lead

back to Quest. With respect to the patents at issue in the above captioned case, the patent

assignment from Daedalus Blue LLC (“Daedalus”) to Taasera identifies “QUEST PATENT

RESEARCH CORPORATION” and Jon Scahill at a Quest email address (jscahill@qprc) as

managing the assignment. Dkt. 21-13, at 3 (Patent Reassignment Form). Quest also stated in its

2021 10-K SEC filing that it funded Taasera’s purchase of its patent portfolio. Dkt. 21-12 at 81.

Quest acquired, through Taasera, seven U.S. patents as part of the May 20, 2021 patent

reassignment agreement. Dkt. 21-12, at 9. Quest acquired, through Taasera, the rest of its twenty-

two patents from Daedalus on August 31, 2021. Dkt. 21-13, at 2-3, 6. Quest also announced that

the patents were “recently acquired using [Quest’s] $27m capital facility.” Dkt. 21-14, at 5.


2
  PAN has filed a motion seeking jurisdictional discovery to investigate Taasera’s other
connections to New York and to Quest. See Dkt. 60.
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       Quest publicly proclaims that it manages many aspects of the patents assigned to its

subsidiaries like Taasera. See Dkt. 21-12, at 5 (admitting that Quest’s “principal operations

“include the acquisition, licensing and enforcement of intellectual property rights that are either

owned or controlled by us or one of our wholly-owned subsidiaries”) (emphases added).

Indeed, Quest’s revenue stream comes directly from this management activity. See id. at 5

(Quest’s “primary source of revenue will come from the grant of licenses to use our intellectual

property”; “to date[,] all [of Quest’s] patent license revenues have resulted from litigation”)

(emphasis added).

       Taasera does not appear to have any substantive business operations other than, as Quest

specifically engineered, to act as an underfunded shell for Quest to assert its patents. Quest

admitted in its 10-K that its “subsidiaries do not have any assets other than the patents.” Dkt. 21-

12, at 94. Quest organized Taasera in this fashion (undercapitalized) so that the company “does

not have any available financial resources to pay any judgment which a defendant may obtain

against” Taasera. Id. Further, while Quest alleges that Taasera is “building an internet security

company in Texas” (Dkt. 51, at 2), it has not explained how Taasera is doing that activity without

assets. Nor has Quest explained how Taasera is conducting substantive business when its listed

address is simply the office of its local counsel in Marshall, Texas. See Ex. C (Taasera Licensing

LLC); Dkt. 21-11 (Taasera’s Certificate of Formation); Dkt. 49-1, ¶ 1, p. 76; Ex. D (Photo of

Truelove Law Firm #1); Ex. E (Photo of Truelove Law Firm #2); Ex. F (Truelove Law Firm

address); Dkt. 21-10 (Truelove Law Firm signature).

       Quest’s focus on Taasera’s “website” appears to be gamesmanship designed to improperly

manipulate jurisdiction. Taasera’s website was only recently registered on March 14, 2022, by an

individual located in New York, just one week before Taasera’s initial complaint against PAN in



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the Eastern District of Texas. Ex. G at 2 (MDL Dkt. 28-9). In fact, even on April 6, 2022, the

website was not live. Ex. H (Taaseratrust.com draft). Therefore, at the time of the patent

reassignment from Daedalus or Taasera, Inc., this website did not even exist. Dkt. 21-13, at 2. The

website also fails to provide any physical address of its supposed “office[] in Plano, Texas[.]” Ex.

I (http://taaseratrust.com/). In addition, a search for Taasera Licensing LLC and “Plano, Texas”

does not produce any results indicating that such an address exists. These irregularities all support

the fact that Quest and Taasera are alter egos. In fact, while this website did not exist, on Quest’s

website, Quest repeatedly announced Taasera’s litigation activities, including against PAN. Dkt.

21-14.

         Quest and Taasera also have overlapping management. Neither Quest nor Taasera has

identified anyone who purportedly manages Taasera from Texas. Instead, Mr. Jon Scahill is the

only full-time employee of Quest, its CEO, and its President – and he is also Taasera’s registered

agent and its only manager in the United States. Dkt. 21-11, at 3; Dkt. 58, ¶¶ 1, 3. Mr. Scahill is

also a registered attorney with the New York State bar and his business address is listed within this

District. Ex. A (Scahill New York Attorney Registration). He uses his legal training to manage

various aspects of Quest and Taasera’s patent portfolios. See Dkt. 21-12, at 12 (Mr. Scahill is

responsible for “locating, evaluating, and negotiating and performing due diligence with respect

to intellectual property rights from the owners, managing our intellectual property portfolios,

engaging in licensing activities and monetizing the rights through licensing and managing and

monitoring any litigation with respect to our intellectual property as well as defending any actions

by potential licensees seeking a declaratory judgment that they do not infringe”). Mr. Scahill

performs this overlapping work for Quest and Taasera at his Quest business address within New




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York. See Dkt. 58, ¶ 3; Ex. A; Dkt. 21-14. This same address is shared by Taasera’s counsel, the

Fabricant Firm. Ex. B (Fabricant Firm Contact Information).

         All of this publicly available evidence indicates that Taasera and Quest are alter egos

controlled by Jon Scahill, a New York attorney residing and conducting business in this District.

II.      LEGAL STANDARD

         A.      Choice of Law

         The pivotal question for the Court to resolve Quest’s motion is whether Quest and Taasera

are in fact alter egos of each other. This is not a substantive issue related to patent law and therefore

the applicable law on this issue is that of New York. See Insituform Techs., Inc. v. Cat Contr., Inc.,

385 F.3d 1360, 1380 (Fed. Cir. 2004) (“Because the alter ego issue is not unique to patent law, this

court applies the law of the regional circuit.”) (citing Panduit Corp. v. All States Plastic Mfg. Co.,

Inc., 744 F.2d 1564, 1574-75 (Fed. Cir. 1984)).3

         B.      Motion to Dismiss for Lack of Subject Matter Jurisdiction

         On a motion to dismiss for lack of subject matter jurisdiction, “[t]he court must accept as

true all material facts alleged in the complaint.” Mashud Parves Rana v. Islam, 305 F.R.D. 53, 59

(S.D.N.Y. 2015) (citing Merritt v. Shuttle, Inc., 245 F.3d 182, 186 (2d Cir. 2001)). Further, all

reasonable inferences must be drawn in favor of the plaintiff. Hubei Jingzhou Yizhou Indus. Co.,

Ltd. v. JNJ Rest. Supplies, Inc., 10 Civ. 2642 (WHP), 2010 WL 5174337, at *2 (S.D.N.Y. Dec. 9,

2010) (quoting Morrison v. Nat’l Austl. Bank Ltd., 547 F.3d 167, 170 (2d Cir. 2008)). And, “‘[i]n

resolving a motion to dismiss for lack of subject matter jurisdiction . . . [,] a district court may

consider evidence outside the pleadings.’” Hubei Jingzhou Yizhou Indus. Co., Ltd., 2010 WL

5174337, at *2 (citing Morrison, 547 F.3d at 170).



3
    Quest does not dispute that New York alter-ego law properly applies here. See Dkt. 51, at 8.
                                                   5
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        This Court held in Hon Hai Precision Industry Co. v. Wi-LAN, Inc., which dispute included

a claim for declaratory judgment of non-infringement, that “it is necessary to consider: (1) whether

there is an ‘actual controversy’ between the parties, within the meaning of Article III; and (2)

whether subject matter jurisdiction would exist over that controversy, were it brought as a coercive

action.” No. 12 Civ. 7900 (SAS), 2013 WL 2322675, at *4 (S.D.N.Y. May 28, 2013) (citation

omitted). Furthermore, for the purposes of jurisdiction, “[a]lter ego entities are a single entity.”

Essar Steel Algoma Inc v. Nev. Holdings, Inc., 17 Misc. 360 (AT) (RWL), 2020 WL 2539031, at

*2 (S.D.N.Y. May 18, 2020).

        C.       Alter Ego Status

        Quest misrepresents this jurisdiction’s alter ego doctrine when it states:

                 To establish that parties are alter egos of each other requires
                 evidence showing (1) ‘that the owner exercised complete
                 domination over the corporation with respect to the transaction at
                 issue’ and (2) ‘that such domination was used to commit a fraud or
                 wrong that injured the party seeking to pierce the veil.’ Thrift Drug,
                 Inc. v. Universal Prescription Adm’rs, 131 F.3d 96, 97 (2d Cir.
                 1997).

Dkt. 51, at 8.

        Rather, this Court has explained that, under New York law:

                 The standard for piercing the corporate veil for liability purposes
                 is not, however, the same standard to be used when piercing for
                 jurisdictional purposes. The standard for piercing the corporate
                 veil for purposes of obtain[ing] jurisdiction is a less stringent
                 one. If a corporation is merely a shell, the corporate veil may be
                 pierced to impute jurisdiction even without a showing that the shell
                 was used to perpetrate a fraud.

Miramax Film Corp. v. Abraham, No. 01 Civ. 5202, 2003 WL 22832384, at *6-7 (S.D.N.Y. Nov.

25, 2003) (emphases added); see also Int’l Equity Invs., Inc. v. Opportunity Equity Partners, Ltd.,

475 F. Supp.2d 456, 459 (S.D.N.Y. 2007) (“‘New York law allows the corporate veil to be pierced

either when there is fraud or when the corporation has been used as an alter ego.’ The latter

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normally requires ‘a showing of . . . complete control by the dominating corporation that leads to

a wrong against third parties.’ But this standard is relaxed where the alter ego theory is used

not to impose liability, but merely to establish jurisdiction. In such instance, the question is

only whether the allegedly controlled entity ‘was a shell’ for the allegedly controlling party;

it is not necessary to show also ‘that the shell was used to commit a fraud.’”) (italics in original,

bold added) (citations omitted).

       Courts in this District have established ten non-exhaustive factors for determining whether

a controlled party is merely a shell for the controlling party and therefore establishing alter-ego

status. See Platina Bulk Carriers Pte Ltd. v. Praxis Energy Agents DMCC, 20 Civ. 4892 (NRB),

2021 WL 4137528, at *4 (S.D.N.Y. Sep. 10, 2021). These factors include:

               (1) disregard of corporate formalities; (2) inadequate capitalization;
               (3) intermingling of funds; (4) overlap in ownership, officers,
               directors, and personnel; (5) common office space, address and
               telephone numbers of corporate entities; (6) the degree of business
               discretion shown by the allegedly dominated corporation; (7)
               whether the dealings between the entities are at arm[’]s length; (8)
               whether the corporations are treated as independent profit centers;
               (9) payment or guarantee of the corporation’s debts by the
               dominating entity, and (10) intermingling of property between the
               entities.

Id. (the “Platina Bulk Factors”).

       Moreover, “[n]o one factor is dispositive and ‘[t]here is no set rule as to how many of these

factors must be present to warrant piercing the corporate veil.’” Williamson v. Recovery Ltd.

P’ship, 542 F.3d 43, 53 (2d Cir. 2008) (citation omitted); cf. See Essar Steel Algoma Inc., 2020

WL 2539031, at *3 (“A plaintiff need not allege all the factors – only ‘some combination.’”).

“Rather, the general principle guiding courts in determining whether to pierce the corporate veil

has been that liability is imposed when doing so would achieve an equitable result.” Platina Bulk

Carriers, 2021 WL 4137528, at *4 (citation and internal quotation marks omitted).


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        D.      Motion to Dismiss for Failure to State a Claim

        To survive a Rule 12(b)(6) motion to dismiss for failure to state a claim, “a plaintiff must

plead sufficient factual allegations in the complaint that, accepted as true, ‘state a claim to relief

that is plausible on its face.’” Essar Steel Algoma Inc, 2020 WL 2539031, at *1 (citing Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009)). More specifically, “[a] complaint must contain ‘a short and plain

statement of the claim showing that the pleader is entitled to relief, in order to give the defendant

fair notice of what the…claim is and the grounds upon which it rests.’” Carson Optical Inc. v.

eBay Inc., 202 F. Supp. 3d 247, 252 (E.D.N.Y. 2016) (citing Bell Atl. Corp. v. Twombly, 550 U.S.

544, 555 (2007)). Furthermore, “[t]he complaint must provide ‘sufficient factual matter, accepted

as true, to state a claim of relief that is plausible on its face.’” Id. (citing Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009)). However, “‘a well-pleaded complaint may proceed even if it strikes a savvy

judge that actual proof of those facts is improbable, and that recovery is very remote and unlikely.”

Id. (citing Twombly, 550 U.S. at 556).

III.    ARGUMENT

        A.      Taasera and Quest are Alter Egos

                1.      Quest Relies Upon the Wrong Legal Standard

        Quest relies on inapplicable cases to argue that Taasera and Quest are not alter egos because

“neither Quest nor Taasera exercise complete domination over the other” and because “the

Complaint fail[ed] to sufficiently allege that ‘such domination was used to commit a fraud or

wrong against [Palo Alto].” Dkt. 51, at 14, 17.4 But the “domination” and “fraud” standard is used


4
  Each of the opinions that Quest cites involved discussed alter ego status for the purposes of
establishing liability, not jurisdiction. See Thrift Drug, Inc. v. Universal Prescription Adm’rs, 131
F.3d 95 (2d Cir. 1997) (Motion for summary judgment, determining liability); Am. Fuel Corp. v.
Utah Energy Dev. Co., 122 F.3d 130, 134 (2d Cir. 1997) (motion to compel arbitration); Bravado
Int’l Grp. Merch. Servs., Inc., 655 F. Supp. 2d at 177 (E.D.N.Y. 2009) (calculating damages for
liability); Cohen v. Schroeder, 248 F. Supp. 3d 511 (S.D.N.Y. 2017), aff’d, 724 F. App’x 45 (2d
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for a liability analysis, not for jurisdictional analysis as here. See Miramax Film Corp., 2003 WL

22832384, at *6-7; Int’l Equity Invs., 475 F. Supp.2d at 459.

       Instead, the correct legal standard for determining an alter-ego relationship is use of the ten

non-exclusive Platina Bulk Factors. See supra Section III.C. “No one factor is dispositive” and

“[t]here is no set rule as to how many of these factors must be present to warrant piercing the

corporate veil.” Williamson, 542 F.3d at 53; cf. See Essar Steel Algoma Inc., 2020 WL 2539031,

at *3 (“A plaintiff need not allege all the factors – only ‘some combination.’”). Here, as discussed

below, an application of the proper legal standard sufficiently satisfies the more relaxed bar for

establishing alter ego status for jurisdictional purposes. See Miramax Film Corp., 2003 WL

22832384, at *6-7; Int’l Equity Invs., 475 F. Supp.2d at 459.

               2.      Factor 2: inadequate capitalization

       Platina Bulk Factor 2 weighs in favor of finding an alter ego relationship. Quest

undercapitalizes Taasera. Quest admitted in its 10-K that its “subsidiaries do not have any assets

other than the patents” and that it set Taasera up in this way so that the company “does not have

any available financial resources to pay any judgment which a defendant may obtain against”

Taasera. Dkt. 21-12, at 94. This type of undercapitalization “weighs heavily in favor of a finding

that the corporate form of an entity should be disregarded.” Cardell Fin. Corp. v. Suchodolski

Assocs., No. 09 Civ. 6148 (VM) (MHD), 2021 WL 12932049, at *22 (S.D.N.Y. July 17, 2012). In

fact, in Cardell, the court found the party to be an alter ego even though the parties did not share

office spaces or cell phone numbers, as they do in the instant case. Id. at *25.

               3.      Factor 4: overlap in ownership, officers, directors, and personnel


Cir. 2018) (motion for summary judgment, determining liability); Music Mix Mobile LLC v.
Newman, 592 B.R. 292 (bankruptcy case, discussing alter ego liability); Handal & Morofsky, LLC
v. Viatek Consumer Prod. Grp., Inc., No. 18 CIV. 1887 (ER), 2018 WL 5886122, at *12 (S.D.N.Y.
Nov. 8, 2018) (motion to dismiss for failure to state a claim, “alter ego liability”).
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       Platina Bulk Factor 4 weighs in favor of finding an alter ego relationship. Quest’s only

full-time employee is Jon Scahill. Mr. Scahill is also Taasera’s only U.S.-based manager. See

Platina Bulk, 2021 WL 4137528, at *4, 5 (considering the fact “that the three companies have

overlapping personnel (including one individual who appears to be the key person at all three

entities” to be a factor in favor of alter ego finding); Dkt. 58, ¶¶ 1, 3, 4. In his multi-managerial

roles, Jon Scahill signed documents relating to Taasera using his Quest title and e-mail address.

Dkt. 21-13, (listing his email as “jscahill@qprc.com” on Taasera’s patent reassignment filing with

the U.S.P.T.O.). Furthermore, although Quest now claims that “Quest [h]as [n]o [l]egal [r]ights to

the [p]atents-[i]n-[s]uit” (Dkt. 51, at 6), this new allegation is a stark contrast from the statements

Quest made to the Securities Exchange Commission on its 2021 10-K filing, when it stated that

“[its] principal operations include the acquisition, licensing and enforcement of intellectual

property rights that are either owned or controlled by us or one of our wholly-owned subsidiaries.”

Dkt. 21-12, at 5. Mr. Scahill’s overlapping management role in both companies to perform these

overlapping patent enforcement and acquisition roles indicate that the companies are alter-egos.

               4.      Factor 5: common office space, address and telephone numbers of
                       corporate entities

       Platina Bulk Factor 5 weighs in favor of finding an alter ego relationship. Quest insists

that Quest and Taasera are separate entities and “[t]he two entities do not share any office space.”

Dkt. 51, at 9. However, Taasera’s Certificate of Formation shows that the office of Taasera’s

manager is located at 411 Theodore Fremd Ave., Suite 206S, Rye, NY. Dkt. 21-11, at 2. This is

the same address that Quest provides on its website. Dkt. 21-14, at 3. The patent reassignment

from Daedalus to Taasera was also filed from this same address. Dkt. 21-13, at 3.

       Quest’s allegation that Taasera has “its principal place of business located in Plano, Texas”

is unsupported. Quest offers no specific address in Plano. Instead, Taasera’s Certificate of


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Formation identifies an address in Marshall, Texas 57670 as Taasera’s office. Ex. C; Dkt. 21-11.

This address, however, is identical to that of Taasera’s Texas patent counsel, the Truelove Law

Firm, and not a true place of business activities for Taasera. Dkt. 49-1, ¶ 1, p. 76; Dkt. 21-10; Ex.

D, E, F. Furthermore, as discussed above, Taasera is managed by Jon Scahill from his office in

Rye, NY, not from Plano, Texas. Taasera’s Plano “place of business” appears to be a sham that

seeks to improperly game jurisdiction. See Hertz Corp. v. Friend, 559 U.S. 77, 97 (2010) (urging

courts to ensure that the jurisdictional and venue laws are not frustrated by a party’s attempts at

manipulation).

       B.        Quest Abuses the Corporate Form to Perpetuate a Fraud

       As noted above, under New York law, the question of fraud does not enter into the analysis

when an alter-ego theory is used for establishing jurisdiction. See supra Section III.C.; Miramax

Film Corp., 2003 WL 22832384, at *6-7; Int’l Equity Invs., 475 F. Supp.2d at 459. But even if

Quest had not cited the incorrect standard and the appropriate analysis here did consider fraud,

PAN has established that Quest is a mere alter-ego of Taasera.                  Quest intentionally

undercapitalized Taasera in order to try and avoid adverse awards of attorneys’ fees. Dkt. No. 21-

12 at 20. This purposeful abuse of the corporate form to avoid potential judgments of this Court

is fraudulent, and permitting a company to avoid potential judgments of this Court simply by

incorporating a shell subsidiary would be unjust. See Universitas Educ., LLC v. Benistar, No. 20

Civ. 00738 (JAM), 2021 WL 965794, at *10 (D. Conn. Mar. 15, 2021) (“Universitas has plausibly

alleged injustice through Daniel Carpenter's use of shell companies including GMP to prevent

Universitas from receiving tens of millions of dollars of the judgment it is owed.”).

       C.        The First Amended Complaint Sufficiently Pleads Non-Infringement

       PAN’s complaint pleads sufficient facts to support its claims for declaratory judgment of

non-infringement of each asserted patent. To prove infringement, a patentee must establish that all

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elements of the asserted patent claim are present in the accused device, literally or by an equivalent.

If even one element of a claim is missing, there is no infringement. Kahn v. General Motors Corp.,

135 F.3d 1472, 1477 (Fed. Cir. 1998) (“The absence of even a single limitation . . . from the

accused device precludes a finding of literal infringement.”). Here, for each patent, PAN identified

at least one specific limitation that is missing from the accused PAN products and included factual

allegations that those feature(s) are not present in the accused products. For example, PAN alleged

the following with respect to its claim for non-infringement of the ’796 Patent:

               24. For example, claim 1 of the ’796 Patent recites “identifying at
               least a portion of information associated with the at least one
               regularly identifiable expression; and extracting the portion of
               information.” Palo Alto Networks’ accused products do not infringe
               at least because they do not identify a portion of information
               associated with a regularly identifiable expression and then extract
               that portion of information, as properly construed and recited in the
               claim.

Dkt. 21, ¶ 24; see also id. ¶¶ 28, 32, 36, 40, 44, 48, 52, 54 (similar format allegation for all other

patents). The first sentence of this paragraph identifies a relevant claim limitation. The second

sentence then makes a factual allegation that PAN’s products do not contain the requisite

functionality. The Court must accept these factual allegations, as both Quest and Taasera admit.

Dkt. 51 at 13; Dkt. 57 at 16 (both citing Gregory v. Daly, 243 F.3d 687, 691 (2d Cir. 2001), as

amended (Apr. 20, 2001)).5 These factual allegations are sufficient to state a claim, as confirmed

by numerous courts. See, e.g., Lopez v. Fluidra USA LLC, No. 21 Civ. 0044, 2021 WL 2939812,

at *2 (S.D. Cal. July 13, 2021) (denying motion to dismiss counterclaims of non-infringement

where “[d]efendants clearly explained why their accused products do not infringe. On the ’041


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  In one instance, Quest complains that PAN’s pleading “states, without factual support, that the
Accused Products do not perform that claim limitation.” Dkt. 51 at 16. But “factual support” is not
required at the motion to dismiss stage. All that is required are factual allegations, which the Court
must accept as true, as Quest admits. Gregory, 243 F.3d at 691 (on Rule 12(b)(6) motion, the Court
“must accept as true all of the factual allegations set out in plaintiff’s complaint”).
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Patent, Defendants allege they do not infringe because the accused products do not meet the claim

limitations of a “cartridge”, “wedges formed between each of the apertures”, and “a plurality of

spaced-apart apertures.”); see also Evolve Techs., LLC v. Coil Winding Specialist, Inc., No. 18

Civ. 00671, 2019 WL 1383272, at *3 (S.D. Cal. Mar. 27, 2019) (finding allegations sufficient

because they identified the claim limitations allegedly not infringed); Ironworks Pats. LLC v.

Samsung Elecs. Co., No. 17 Civ. 01958, 2018 WL 1400440, at *2 (N.D. Cal. Mar. 20, 2018)

(finding “general denials of infringement sufficient to sustain declaratory judgment claims for

patent non-infringement at the pleading stage”).

       Quest has failed to show any reason why PAN’s well-pled factual allegations are

insufficient, and it fails to cite or even acknowledge PAN’s factual allegations regarding

noninfringement in ¶¶ 24, 28, 32, 36, 40, 44, 48, 52, and 54. Instead of addressing those allegations,

Quest buries its head in the sand and focuses on other parts of the Complaint. Specifically, Quest

focuses entirely on ¶¶ 23, 27, 31, 35, 39, 43, 47, 51, and 55, where PAN alleged, for example,

“Palo Alto Networks is not infringing and has not infringed, directly or indirectly, literally or under

the doctrine of equivalents, willfully or otherwise, any claim of the ‘796 Patent.” PAN has never

contended these other paragraphs provide the factual basis for its claims. To the contrary, PAN

has relied on ¶¶ 24, 28, 32, 36, 40, 44, 48, 52, and 54; see also Dkt. 44 at 3 (relying on the same

paragraphs in the pre-motion letter). The failure to address these factual allegations, which Quest

admits must be accepted as true by the Court at the Rule 12 stage, is sufficient reason to deny

Quest’s motion.

       Furthermore, Quest's case law is inapposite. In E&E, unlike the present case, the proposed

counterclaim did not identify any limitations as allegedly not infringed, but instead solely stated

the ultimate conclusion of non-infringement as follows: “London Luxury does not infringe the



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’376 patent because the accused products do not practice each claim of the ’376 patent.” E&E Co.

v. London Luxury LLC, No. 20 Civ. 09610, 2021 WL 5357474, at *3 (S.D.N.Y. Nov. 17, 2021).

PAN’s pleading goes far beyond that in E&E, by identifying a specific claim limitation and making

a factual allegation about PAN’s products. See, e.g., Dkt. 21, ¶ 24 (“Palo Alto Networks’ accused

products do not infringe at least because they do not identify a portion of information associated

with a regularly identifiable expression and then extract that portion of information, as properly

construed and recited in the claim.”). PAN’s allegations of noninfringement are therefore sufficient

under Rule 12(b)(6).

        Quest’s other cases are similarly inapposite. For example, Pilot is substantially the same

as E&E because, unlike here, the pleading in Pilot did not identify any specific missing claim

limitations or factual allegations, but rather only contained “threadbare recitals of the elements of

a cause of action.” Pilot Inc. v. NOCO Co. Inc., No. CV-20-01452-PHX-SRB, 2021 WL 2188525,

at *4 (D. Ariz. Feb. 12, 2021) (dismissing pleading that alleged, without any supporting factual

allegations: “[Defendant] has not infringed and does not infringe any valid and/or enforceable

claim of the '653 Patent, either directly or indirectly, literally, under the doctrine of equivalents, or

otherwise”). Webasto is similar: its pleading only “recite[d] bare legal conclusions.” Webasto

Thermo & Comfort N. Am., Inc. v. Bestop, Inc., No. 16 Civ. 13456, 2017 WL 4535290, at *5 (E.D.

Mich. Oct. 11, 2017). PetEdge is again the same: the court dismissed a pleading that “alleges that

‘Marketfleet has not infringed any valid and enforceable claim of the ’236 patent, either literally

or under the doctrine of equivalents, willfully or otherwise,’ without further support.” PetEdge,

Inc. v. Marketfleet Sourcing, Inc., No. CV 16-12562-FDS, 2017 WL 2983086, at *3 (D. Mass.

July 12, 2017). PAN’s allegations go beyond simply stating the conclusion of non-infringement,

but instead identifies specific claim limitations of each patent that are missing from the accused



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products, and for each patent include factual allegations about PAN’s products not meeting those

limitations. PAN’s allegations far exceed those in E&E, Pilot, Webasto, and PetEdge and instead

fall squarely within the cases that find allegations of noninfringement sufficient. See supra at 20-

21. Thus, dismissal is unwarranted.

       Quest also relies on Comcast, where the complaint only identified a claim limitation but

did not include any factual allegations about the product. Comcast Cable Commc’ns, LLC v.

OpenTV, Inc., 319 F.R.D. 269, 273 (N.D. Cal. 2017). Here, by contrast, PAN has not only

identified the relevant missing claim limitations but also included factual allegation about its

products lacking those limitations.

       Quest finally relies on Tannerite, which is inapposite. There the court found defendant had

not alleged facts to “support a reasonable inference [that] defendant did not sell or offer to sell a

product that had no substantial non-infringing use.” Tannerite Sports, LLC v. Jerent Enters., LLC,

No. 6:15-cv-00180-AA, 2016 WL 1737740, at *5 (D. Or. May 2, 2016). But PAN’s pleading is

not based on lack of substantial non-infringing uses (and Taasera does not allege otherwise), so

Tannerite is simply irrelevant.

       Thus, none of Quest’s case law is on point. Quest has ignored the factual allegations in

PAN’s complaint that distinguish PAN’s allegations from those cases and that are sufficient to

state a claim for declaratory judgment of non-infringement under Rule 12(b)(6). The Court should

thus deny the Quest motion to dismiss for failure to state a claim.

IV.    CONCLUSION

       For the foregoing reasons, PAN respectfully requests that the Court: (i) deny Defendant

Quest’s motion to dismiss the FAC for lack of subject matter jurisdiction; (iii) deny Defendant

Quest’s motion to dismiss for failure to state a claim.



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Dated: New York, New York
       July 14, 2022


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